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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA
                                  FOURTH DIVISION


Jayme Hall, individually,                                   Civil File No. 10-cv-1949 JNE/FLN
and on behalf of all others similarly situated,

                       Plaintiff,                            PLAINTIFF’S NOTICE OF
       v.                                                  VOLUNTARY DISMISSAL WITH
                                                          PREJUDICE OF HER COMPLAINT
NCO Financial Systems, Inc.,                                AGAINST THE DEFENDANTS
Kristin Cura, and Lucy Decker,

                       Defendants.



       The plaintiff, Jayme Hall, voluntarily dismisses her complaint with prejudice pursuant to
Federal Rule of Civil Procedure 41(a)(1)(A)(i).

                                                  Respectfully submitted,


Dated: September 24, 2010                         By: s/ Michael G. Phillips _________________
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